  Case: Case
        21-50792    Document: 00516066850
             1:21-cv-00616-RP              Page:10/25/21
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(ORDER LIST:   595 U.S.)


                           FRIDAY, OCTOBER 22, 2021


                              CERTIORARI GRANTED


21-463     WHOLE WOMAN’S HEALTH, ET AL. V. JACKSON, JUDGE, ETC., ET AL.

                   The petition for a writ of certiorari before judgment is

           granted.

                   The briefs of the parties, limited to 13,000 words, are to

           be filed electronically on or before 5 p.m., Wednesday, October

           27, 2021.    Reply briefs, if any, limited to 6,000 words, are to

           be filed electronically on or before 5 p.m., Friday, October 29,

           2021.    Any amicus curiae briefs are to be filed electronically on

           or before 5 p.m., Wednesday, October 27, 2021.    Booklet format

           briefs prepared in compliance with Rule 33.1 shall be submitted

           as soon as possible thereafter.    The parties are not required to

           file a joint appendix.

                   The case is set for oral argument on Monday, November 1,

           2021.
  Case: Case
        21-50792    Document: 00516066873
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                            October 25, 2021


Ms. Jeannette Clack
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

      No. 21-50792     Whole Woman’s Health v. Jackson
                       USDC No. 1:21-CV-616


Dear Ms. Clack,
Enclosed is a copy of the Supreme Court order granting certiorari.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Stacy M. Carpenter, Deputy Clerk
